Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 1 of 6 PageID #:
                                   1913


                                EXHIBIT B
Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 2 of 6 PageID #:
                                   1914
Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 3 of 6 PageID #:
                                   1915
Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 4 of 6 PageID #:
                                   1916
Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 5 of 6 PageID #:
                                   1917
Case 1:07-cv-02067-NGG   Document 123-3 Filed 04/25/08   Page 6 of 6 PageID #:
                                   1918
